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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


  Maurice Grant,                                )   Civil Action No. 2:24-cv-04262-RMG-MHC
                                                )
                       Plaintiff,               )
                                                )
  v.                                            )                CONFERENCE AND
                                                )               SCHEDULING ORDER
  Deputy Austin Longieliere,                    )
                                                )
                       Defendant.               )
                                                )

         Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this Court,
 the following schedule is established for this case. Discovery may begin upon receipt of this Order.

 1.     A conference of the parties pursuant to Fed. R. Civ. P. 26(f) shall be held no later than
        October 17, 2024.1 At conference the parties shall confer concerning all matters set forth
        in Fed. R. Civ. P. 26(f) and whether the schedule set forth in this order is appropriate and,
        if not, what modifications are necessary. 2

 2.     No later than October 31, 2024 required initial disclosures under Fed. R. Civ. P. 26(a)(1)
        shall be made.3

 3.     No later than October 31, 2024 the parties shall file a Rule 26(f) report in the form attached
        to this order. Parties are hereby notified that Local Civil Rule 26.03 lists additional queries
        to be answered in the Rule 26(f) Report.

 4.     Motions to join other parties and amend the pleadings (Fed. R. Civ. P. 16(b)(1)) shall be
        filed no later than November 21, 2024.

 5.     Plaintiff(s) shall file and serve a document identifying by full name, address, and telephone
        number each person whom Plaintiff(s) expects to call as an expert at trial, and certifying

        1
        Plaintiff’s counsel shall initiate the scheduling of the Rule 26(f) conference with all counsel
 known to plaintiff regardless of whether they have filed appearances.
        2
         The parties shall also consider whether they wish to consent to trial before a United States
 Magistrate Judge. See attached Notice of Availability of United States Magistrate Judge.
        3
          Pursuant to Fed. R. Civ. P. 26(a)(1), the parties may, by stipulation, agree not to make some
 or all of the Rule 26(a)(1) initial disclosures. If such a stipulation is made, it shall be confirmed in
 writing between the parties. See Fed. R. Civ. P. 29 and Local Civil Rule 29.01.
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        that a written report prepared and signed by any expert meeting the criteria under Fed. R.
        Civ. P. 26(a)(2)(B), including all information required by Fed. R. Civ. P. 26(a)(2)(B), has
        been disclosed to other parties by December 23, 2024. For all other expert witnesses,
        counsel should make the disclosures required by Fed. R. Civ. P. 26(a)(2)(C) by December
        23, 2024.

 6.     Defendant(s) shall file and serve a document identifying by full name, address, and
        telephone number each person whom Defendant(s) expects to call as an expert at trial, and
        certifying that a written report prepared and signed by any expert meeting the criteria under
        Fed. R. Civ. P. 26(a)(2)(B), including all information required by Fed. R. Civ. P.
        26(a)(2)(B), has been disclosed to other parties by January 22, 2025. For all other expert
        witnesses, counsel should make the disclosures required by Fed. R. Civ. P. 26(a)(2)(C) by
        January 22, 2025.

 7.     Counsel shall file and serve affidavits of records custodian witnesses proposed to be
        presented by affidavit at trial no later than March 24, 2025. Objections to such affidavits
        must be made within fourteen (14) days after the service of the disclosure. (See Fed. R.
        Evid. 803(6), 902(11), or 902(12) and Local Civil Rule 16.02(D)(3)).

 8.     Discovery shall be completed no later than March 24, 2025. All discovery requests shall be
        served in time for the responses thereto to be served by this date. De bene esse depositions
        must be completed by discovery deadline. No motions relating to discovery shall be filed
        until counsel have consulted and attempted to resolve the matter as required by Local Civil
        Rule 7.02 and have had a telephone conference with Judge Cherry in an attempt to resolve
        the matter informally.

 9.     Mediation, pursuant to Local Civil Rules 16.04 16.12, shall be completed in this case on
        or before April 23, 2025. See attached form setting forth mediation requirements. At least
        thirty (30) days prior to this mediation deadline, counsel for each party shall file and
        serve a statement certifying that counsel has: (1) provided the party with a copy of the
        mediation requirements; (2) discussed the availability of mediation with the party; and (3)
        discussed the timing of mediation with opposing counsel.

 10.    All other motions, except those to complete discovery, those nonwaivable motions made
        pursuant to Fed. R. Civ. P. 12, and those relating to the admissibility of evidence at trial,
        shall be filed on or before May 23, 2025. (Fed. R. Civ. P. 16(b)(2)).

                IT IS SO ORDERED.




 September 26, 2024                            Molly H. Cherry
 Charleston, South Carolina                    United States Magistrate Judge

 Pursuant to Local Civil Rule 83.I.08, this Order is being sent to local counsel only.
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 Attachments:
       1) Rule 26(f) Report Form.
       2) Notice of Availability of United States Magistrate Judge.
       3) Mediation Form.
       4) Mediation Requirement Form
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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


  [Insert Name(s)],                             )   Civil Action No. 2:24-cv-04262-RMG-MHC
                                                )
                       Plaintiff,               )
                                                )
  v.                                            )             RULE 26(f) REPORT
                                                )
  [Insert Name(s)],                             )
                                                )
                       Defendant.               )
                                                )



        The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P., hereby report as
 follows (check one below):

        _______        We agree that the schedule set forth in the Conference and Scheduling Order
                       filed September 26, 2024 is appropriate for this case. The parties’ proposed
                       discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the information
                       required by Local Civil Rule 26.03 will be separately filed by the parties.

        _______        We agree that the schedule set forth in the Conference and Scheduling Order
                       filed September 26, 2024 requires modification as set forth in the proposed
                       Consent Amended Scheduling Order which will be e-mailed to chambers as
                       required (use format of the Court’s standard scheduling order). The parties’
                       proposed discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the
                       information required by Local Civil Rule 26.03 will be separately filed by
                       the parties.

        _______        We are unable, after consultation, to agree on a schedule for this case. We,
                       therefore, request a scheduling conference with the Court. The parties’
                       proposed discovery plan as required by Fed. R. Civ. P. 26(f), with
                       disagreements noted, is attached. The information required by Local Civil
                       Rule 26.03 will be separately filed by the parties.

                                    (SIGNATURE PAGE ATTACHED)
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 PLAINTIFF(S)                                          DEFENDANT(S)
 _____________________________                  ________________________________
 Signature of Plaintiff’s Counsel               Signature of Defendant’s Counsel

 _____________________________                  ________________________________
 Printed Name of Plaintiff’s Counsel            Printed Name of Defendant’s Counsel
 and Party Represented                          and Party Represented


 ____________________________                   ________________________________
 Signature of Plaintiff’s Counsel               Signature of Defendant’s Counsel

 _____________________________                  ________________________________
 Printed Name of Plaintiff’s Counsel            Printed Name of Defendant’s Counsel
 and Party Represented                          and Party Represented

 _____________________________                  ________________________________
 Signature of Plaintiff’s Counsel               Signature of Defendant’s Counsel

 _____________________________                  ________________________________
 Printed Name of Plaintiff’s Counsel            Printed Name of Defendant’s Counsel
 and Party Represented                          and Party Represented


 ____________________________                   ________________________________
 Signature of Plaintiff’s Counsel               Signature of Defendant’s Counsel

 _____________________________                  ________________________________
 Printed Name of Plaintiff’s Counsel            Printed Name of Defendant’s Counsel
 and Party Represented                          and Party Represented



 Dated: ________________________                Dated: __________________________
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                                        UNITED STATES DISTRICT COURT
                                         DISTRICT OF SOUTH CAROLINA
                                            CHARLESTON DIVISION

 _________________,                               )
                                                  )
                        Plaintiff,                )
                                                  )    Civil Action No. _____________________
 v.                                               )
                                                  )
 __________________,                              )
                                                  )
                        Defendant.                )
                                                  )

      NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

      Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this case (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

      You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.

     Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

 Printed names of parties and attorneys          Signature of parties or attorneys                    Dates
______________________________              _______________________________               ________________________
______________________________              _______________________________               ________________________
______________________________              _______________________________               ________________________
______________________________              _______________________________               ________________________

                                                      Reference Order

     IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:     __________________                           _____________________________________
                                                              District Judge’s signature

                                                       _____________________________________
                                                                  Printed name

NOTE: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United
      States magistrate judge. Do not return this form to a judge.
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                          MEDIATION INITIATION FORM

 Case:   _______________________________,                  C/A No. __________________



 Please check the applicable box to indicate the status of the above referenced case:

         case settled prior to or without mediation
         case dismissed by court or pending ruling on summary judgment motion
         case to proceed to trial
         case continued to next term

   OR

         case will be or has been mediated (complete the following information):


 Mediator Name: ___________________________Mediator Phone No.___________________


 Date Mediation Scheduled to Occur or Date Mediation Completed:______________________


 Submitted by:_______________________________ Signature:_________________________
                    (Printed name of counsel)


 For which party?:______________________________________ Date:___________________
                      (Name of party counsel represents)


 Please send completed form to Billie Goodman, ADR Program Director, by e-mail
 (billie_goodman@scd.uscourts.gov), by fax (803-253-3591), or by mail (901 Richland Street,
 Columbia, SC 29201).
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 IN THE UNITED STATES DISTRICT COURT )                    MEDIATION REQUIREMENTS
 FOR THE DISTRICT OF SOUTH CAROLINA )

 Mediation is to be scheduled and completed in all cases, including those cases involving
 unrepresented parties. Mediation shall be completed by the date indicated in the scheduling order.
 A Mediation Initiation Form is attached for your use. Upon completion of the mediation, counsel
 shall advise the Court in writing only that the mediation has occurred, the date of the mediation,
 whether the case was settled in whole or in part, and whether a trial is required.

 The parties should select a mediator consistent with Local Rule 16.06 D.S.C. A roster of certified
 mediators is available from the Clerk of Court or may be accessed under the Mediation heading at
 http://www.scd.uscourts.gov/cases.htm.

 All parties and their lead trial counsel, having authority to settle and to adjust pre-existing
 settlement authority if necessary, are required to attend the mediation in person unless excused by
 the Court for good cause shown. Insurer representatives with decision-making authority also are
 required to attend in person, unless excused by the Court, if their agreement would be necessary to
 achieve a settlement. Every person who is excused from attending in person must be available to
 participate by telephone, unless otherwise ordered. At the mediation, parties, their insurer
 representatives and their primary trial counsel should be prepared to participate in a mutual, good
 faith effort to negotiate a fair and reasonable settlement. All necessary discovery should be
 completed prior to mediation. Lack of discovery or settlement authority is no excuse for failure to
 appear and/or participate. See Local Rule 16.09 D.S.C.

 This form has been provided to all counsel of record and to all pro se parties. Counsel are
 responsible for notifying and ensuring the presence of parties and insurer representatives as
 described above. If a case has been mediated previously, counsel shall notify the Court immediately
 in writing.

 Communications made in connection with or during the mediation are confidential and protected
 by Federal Rule of Evidence 408 and Federal Rule of Civil Procedure 68. If a settlement is not
 reached at mediation, settlement discussions are neither admissible at trial nor to be disclosed to
 the presiding judge. See Local Rule 16.08(C) D.S.C.

 Pursuant to Local Rule 16.05, D.S.C., if any party wishes to be relieved from the mediation
 requirement, they may file a motion if they can show good cause.

 Any questions concerning the selection of a mediator or the mediation process generally should be
 referred to the court’s ADR Program Director, Billie Goodman, who can be contacted at 803-253-
 3491 (phone), at 803-253-3591 (fax), or at billie_goodman@scd.uscourts.gov.

                                                   Molly H. Cherry
                                                   United States Magistrate Judge
